
6 N.Y.2d 723 (1959)
Meta Enslein, Respondent,
v.
Hudson &amp; Manhattan Railroad Company, Appellant-Respondent, and Peelle Company, Appellant, et al., Defendant.
Court of Appeals of the State of New York.
Argued February 25, 1959.
Decided April 9, 1959.
Joseph Fennelly, Jr., William S. O'Connor and Gregory A. Lee for appellant.
William F. McNulty and Stanley D. Hicks for appellant-respondent.
Benjamin H. Siff and Abraham B. Fuss for respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Judgment affirmed, with costs to plaintiff against both defendants and with costs to defendant Hudson &amp; Manhattan Railroad Company against defendant, the Peelle Company. No opinion.
